42 F.3d 1385
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael T. JOHNSON, Petitioner Appellant,v.UNITED STATES OF AMERICA, and her Agency Acting Under theJurisdiction of the Commonwealth of Virginia,Respondent Appellee.
    No. 94-6668.
    United States Court of Appeals,Fourth Circuit.
    Dec. 7, 1994.Submitted Nov. 17, 1994Decided Dec. 7, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Senior District Judge.  (CA-94-621-AM)
      Michael T. JOHNSON, appellant Pro Se.
      E.D. Va.
      DISMISSED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Johnson v. United States, No. CA-94-621-AM (E.D. Va.  May 12, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    